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  13                      UNITED STATES DISTRICT COURT
  14                    CENTRAL DISTRICT OF CALIFORNIA
  15
  16   JOSE FERNANDEZ et al.,                  Case No. 2:17-cv-06104-MWF-JC
  17                    Plaintiffs,            DEFENDANTS BANK OF
  18                                           AMERICA CORPORATION AND
             v.                                BANK OF AMERICA, N.A.’S
  19                                           RESPONSE TO ORDER TO SHOW
       BANK OF AMERICA, N.A, et al.            CAUSE
  20
                        Defendants.            Date:      February 15, 2019
  21                                           Time:
                                               Courtroom: 5A
  22                                           Before:    Hon. Michael W. Fitzgerald
  23
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                                                             DEFENDANTS’ RESPONSE TO
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   1                                    INTRODUCTION
   2         Defendants Bank of America, N.A. and Bank of America Corporation
   3   (referred to collectively as “Bank of America” or the “Bank”) submit this brief in
   4   response to the Court’s February 1, 2019, order to show cause why conditional
   5   certification under the Fair Labor Standards Act (“FLSA”) of Plaintiffs’ overtime
   6   claim should not be granted in light of Campbell v. City of Los Angeles, 903 F.3d
   7   1090 (9th Cir. 2018). For the reasons stated below, Campbell does not warrant any
   8   change to the Court’s November 27, 2018 order (Dkt. 46) (the “Order”) denying
   9   conditional certification.
  10         Campbell involved a different procedural posture and materially different
  11   facts. Specifically, Campbell upheld a decision decertifying collective treatment of
  12   the overtime claims of non-exempt Police Officers. The theory underlying these
  13   claims was that the defendant had a policy of denying payment to the plaintiffs for
  14   small amounts of overtime. Because the plaintiffs failed to show a common policy
  15   of denying such payments, their overtime claims could not be resolved on a
  16   collective basis. Id. at 1120. The Ninth Circuit did not address whether conditional
  17   certification had been properly granted in Campbell because that issue was never in
  18   dispute. Indeed, the parties in Campbell stipulated to conditional certification
  19   before the district court.
  20         In discussing decertification, the Ninth Circuit discussed the factors district
  21   courts could properly take into account when assessing whether collective action
  22   members are “similarly situated” for purposes of section 216(b) of the FLSA. 29
  23   U.S.C. § 216(b). To the extent the Ninth Circuit’s “similarly situated” analysis
  24   should be applied at the conditional certification stage, the analysis supports this
  25   Court’s Order denying conditional certification. The Ninth Circuit stressed that to
  26   be “similarly situated” means to be “alike with regard to some material aspect of
  27   their litigation.” Campbell, 903 F.3d at 1114. A “material aspect” means “a legal
  28   or factual similarity … having the potential to advance these claims, collectively, to
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   1   some resolution.” Id. at 1115. The Court also explained that rarely would other
   2   considerations, such as procedural issues or considerations of fairness, justify
   3   decertifying a collective action. Id. at 1114-17.
   4         The Ninth Circuit upheld the district court’s Order decertifying the collective
   5   action because the plaintiffs failed to present evidence of a common policy to deny
   6   overtime payments—i.e., they failed to establish that they were “similarly situated”
   7   with regard to a material aspect of their litigation. Id. at 1120-21. In the absence of
   8   such a policy, the party-plaintiffs’ claims could not be resolved on a collective
   9   basis. Plaintiffs here have similarly failed to identify a mechanism capable of
  10   resolving, on a collective basis, the FLSA overtime claim asserted in this case.1 In
  11   contrast to Campbell, where it was undisputed that the plaintiffs were non-exempt
  12   and the only question was whether they had been paid in full for all overtime hours
  13   worked, the crux of this case is whether Plaintiffs and other Lending Officers
  14   (“LOs”) were properly classified as exempt. If they were properly treated as
  15   exempt, they are not entitled to overtime—regardless of how many hours they
  16   worked. Plaintiffs offered no evidence establishing that the exempt status of LOs
  17   could be determined on a collective, rather than on an individual, basis, such as a
  18   common policy regarding how LOs were expected to spend their time. Rather, they
  19   pointed to the common incentive pay plan—which, as this Court correctly noted,
  20   has no bearing on the propriety of their exempt status. (Dkt. 46 at 23.) By contrast,
  21   the Bank showed that in order to determine whether LOs were properly classified,
  22   the Court would have to engage in individualized inquiries regarding, inter alia, the
  23   nature of each LO’s duties, how much time LOs spent working in and out of
  24   Financial Centers, whether the various duties LOs engaged in were exempt or non-
  25   exempt, and the like. This Court’s Order is therefore consistent with Campbell in
  26   1
         As noted in the Bank’s Opposition to Plaintiffs’ Motion to Certify an Interlocutory
  27   Appeal Under 28 U.S.C. § 1292(b) (Dkt. 53 at n.2), only Plaintiff Boswell has a
       timely FLSA claim. To the extent Plaintiffs Fernandez and Yong purport to assert
  28   claims under the FLSA, those claims are time-barred. (Id.)
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   1   that the analysis focused on whether Plaintiffs and other LOs were “similarly
   2   situated” in a material way. Because they are not, this Court properly denied
   3   conditional certification.
   4         Separate and apart from the fact that Campbell does not support a reversal of
   5   this Court’s Order denying conditional certification, a reversal of the Order would
   6   have little effect in any event. This is because the vast majority of LOs who would
   7   be eligible to participate in any certified collective are covered by a currently
   8   pending class and collective action settlement that disposes of the FLSA overtime
   9   claims for all but a small fraction of the putative collective.
  10                                       ARGUMENT
  11   I.    CAMPBELL DOES NOT SUPPORT REVERSAL OF THIS COURT’S
             ORDER DENYING CONDITIONAL CERTIFICATION
  12
  13         In the Order to Show Cause, this Court stated: “Arguably, the alleged
  14   practice of Bank of America is similar enough to the alleged LAPD practice in
  15   Campbell that conditional certification is appropriate.” To the extent this statement
  16   suggests that the Ninth Circuit found conditional certification to be appropriate in
  17   Campbell, that is incorrect. Campbell upheld a decision decertifying a collective
  18   action where the parties had stipulated to conditional certification before the district
  19   court. Campbell, 903 F.3d at 1103; see also id. at 1117 (“Because preliminary
  20   certification is not challenged in this case, we address only the standard the district
  21   court should apply to post-discovery decertification.”) (emphasis added). The
  22   propriety of conditional certification simply was not before the Court in Campbell.
  23         With respect to the Court’s second stage, decertification analysis of whether
  24   the party-plaintiffs in Campbell were “similarly situated,” that discussion supports
  25   this Court’s denial of conditional certification here. Importantly, Campbell makes
  26   clear that, in determining whether individuals are “similarly situated,” not just any
  27   similarity will do. Citing to Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011),
  28   the court explained that “what matters is not just any similarity between party
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   1   plaintiffs, but a legal or factual similarity material to the resolution of the party-
   2   plaintiffs’ claims, in the sense of having the potential to advance those claims,
   3   collectively, to some resolution.” Campbell, 903 F.3d at 1115. The plaintiffs in
   4   Campbell alleged that the LAPD had a policy of refusing to pay employees who
   5   were indisputably exempt for small amounts of overtime. Based on these
   6   allegations, the Ninth Circuit reasoned that, to justify collective treatment of their
   7   overtime claims, the plaintiffs had to present evidence of a common policy not to
   8   pay for small amounts of overtime. Had such a policy existed, “[t]he Officers
   9   would have been alike in a way material to their litigation, as proving (or failing to
  10   prove) the existence of such a Department policy would have affected the ultimate
  11   findings regarding the occurrence of unpaid overtime and the City’s knowledge of
  12   it.” Id. at 1116. The evidence, however, did not support the conclusion that there
  13   was such a policy; rather, at best, the evidence showed “variable practices variably
  14   applied.” Id. at 1120. As the Ninth Circuit found, “there [was] no evidence to
  15   suggest that the declarants’ vaguely reported experiences are in fact representative
  16   of the experiences of the party plaintiffs Department-wide; the only evidence in the
  17   record is that they are not.” Id. In light of this evidence, the district court properly
  18   decertified the collective. Id. at 1121.
  19         Where the Ninth Circuit parted ways with the district court was in the district
  20   court’s consideration of factors other than whether there was evidence of a
  21   common policy that could resolve the plaintiffs’ claims collectively. Id. at 1114-17.
  22   The district court took these other considerations into account when applying what
  23   is known as the “ad hoc test”—the test recognized as the majority approach to the
  24   similarly situated analysis. Id. at1113-14. The problem with the ad hoc test, the
  25   Ninth Circuit explained, is that it “led the district court into an approach that treats
  26   difference as disqualifying, rather than one that treats the requisite kind of
  27   similarity as the basis for allowing partially distinct cases to proceed together.” Id.
  28   at 1117 (emphasis added). For example, “the district court emphasized that
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   1   Officers work on different tasks, in different divisions, and under different
   2   supervisors.” Id. at 1116. However, “[t]hose distinctions would not have mattered
   3   to the determination of liability if it were proven, as claimed, that the Department
   4   had an overall policy against submitting small overtime claims.” Id. Despite the
   5   district court’s reliance on the wrong legal test, the Ninth Circuit nevertheless
   6   affirmed the district court’s decision because the plaintiffs failed to establish that
   7   there was a “Department-wide policy discouraging the reporting of overtime”—the
   8   issue that mattered for purposes of collective treatment.
   9         Plaintiffs likewise cannot point to a material similarity between themselves
  10   and other LOs capable of advancing a collective resolution of the FLSA overtime
  11   claim. As this Court correctly concluded, the “crux” of this case is whether the
  12   Bank misclassified LOs as exempt. (Dkt. 46 at 23.) Determining exempt status
  13   necessarily involves “an individualized analysis of the way each employee actually
  14   spends his or her time,” Vinole v. Countrywide Home Loans, Inc., 571 F.3d 935,
  15   945 (9th Cir. 2009), and a “blanket application of exempt status ... does nothing to
  16   facilitate common proof on the otherwise individualized issues.” In re Wells Fargo
  17   Home Mortg. Overtime Pay Litig., 571 F.3d 953, 959 (9th Cir. 2009). In other
  18   words, unlike in Campbell, where the exempt status of the plaintiffs was not in
  19   dispute and variation in job duties or tasks did not matter, here, how LOs perform
  20   their work and the time they spend on various tasks is the central issue. Plaintiffs
  21   did not point to any common evidence regarding how LOs spend their time.
  22   Although Plaintiffs relied on the incentive plan applicable to all LOs, as this Court
  23   correctly noted, the incentive plan does nothing to advance the inquiry into whether
  24   all LOs were misclassified as exempt. (Dkt. 46 at 23.) By contrast, the Bank
  25   presented evidence establishing that LOs carry out their job duties differently and
  26   that there is no policy imposing requirements on how LOs spend their time.2 In
  27   2
         This evidence included the Bank’s 30(b)(6) testimony that LOs spent varying
  28   amounts of time at Financial Centers, that the Bank had no specific time limit
       regarding the amount of time LOs were expected to be at Financial Centers;
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   1   addition, the Bank relied on multiple exemptions vis-à-vis LOs, including the
   2   outside sales exemption, the administrative exemption, and the highly compensated
   3   employee exemption. (See Dkt. 40 at 13-15 (outlining exemptions).) Each of these
   4   exemptions has its own requirements regarding the duties that qualify as exempt
   5   and the quantity of time an employee must spend on exempt duties in order to
   6   qualify for the exemption. Accordingly, to determine the exempt status of each
   7   putative collective member, this Court would have to engage in myriad individual
   8   inquiries into how each LO spent their time and whether each particular duty
   9   qualified as exempt work. In light of the need for such inquiries, this Court
  10   correctly denied conditional certification. (Dkt. 46 at 26.) This conclusion is
  11   entirely consistent with Campbell’s holding that plaintiffs cannot simply point to
  12   any similarity but must identify “a legal or factual similarity material to the
  13   resolution of the [their] claims.” Campbell, 903 F.3d at 1115.3
  14         To the extent Plaintiffs argue that, in light of Campbell, a more lenient
  15   standard should be applied at the conditional certification stage than was applied by
  16   this Court, they would be wrong. This Court applied “the lenient standard of the
  17   first stage” (Dkt. 46 at 23), noting that “[t]he factual showing required of plaintiffs
  18   at this stage is generally described as ‘modest.’” (Id. at 21 (citations omitted).)
  19
       numerous sworn declarations from LOs that they spent considerable time away
  20   from the office engaged in sales activities; and deposition testimony from the
  21   named plaintiff in McLeod—a class action asserting claims under Labor Code
       Section 2802 on behalf of LOs—that she worked out of a Financial Center only two
  22   or three days per week, and for only between four to six hours at a time.
       3
         For this reason, courts have repeatedly held that misclassification claims are not
  23   appropriate for collective treatment where the plaintiffs fail to put forth evidence of
       sufficiently similar job duties. See Pfohl v. Farmers Ins. Grp., 2004 WL 554834, at
  24   *9 (C.D. Cal. Mar. 1, 2004) (“The differing job duties and the individualized
  25   inquiry to determine whether these varying duties meet the administrative
       exemption preclude a collective action in this case.”); Trinh v. JP Morgan Chase &
  26   Co., 2008 WL 1860161, at *4 (S.D. Cal. Apr. 22, 2008) (where the central issue is
       exempt status, “the ‘similarly situated’ inquiry must be analyzed in terms of the
  27   nature of each putative plaintiff’s job duties”); Holt v. Rite Aid Corp., 333 F. Supp.
       2d 1265, 1272 (M.D. Ala. 2004) (same); Morisky v. Pub. Serv. Elec. & Gas Co.,
  28   111 F. Supp. 2d 493, 498 (D.N.J. 2000) (same).
                                                                     DEFENDANTS’ RESPONSE TO
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   1   Nothing in Campbell changes the standard applied at the first stage. As noted
   2   above, Campbell did not consider the first stage and simply noted in passing that at
   3   this stage, “the level of consideration is ‘lenient[,]’ … commensurate with the stage
   4   of the proceedings.” Campbell, 903 F.3d at 1109. The standard applied by this
   5   Court is consistent with these comments. Nor can Plaintiffs point to any
   6   considerations by this Court that were deemed improper under Campbell. While
   7   this Court took into account variations in job duties, those variations are material to
   8   Plaintiffs’ claims and were therefore properly taken into account. See id. at 1120
   9   (considering differences with respect to overtime reporting and payment in
  10   concluding that the party-plaintiffs were not similarly situated). Moreover, even if
  11   this Court had taken such considerations into account, this Court’s denial of
  12   conditional certification would nevertheless be justified based on Plaintiffs’ failure
  13   to point to a material similarity among LOs. Id.
  14   II.   THE BANK HAS ENTERED INTO A SETTLEMENT AGREEMENT
             THAT COVERS THE OVERTIME CLAIMS OF THE VAST
  15         MAJORITY OF PUTATIVE COLLECTIVE MEMBERS
  16         Finally, even if this Court were to reverse the Order and grant conditional
  17   certification, such a ruling would have only limited effect because the Bank has
  18   entered into a class and collective action settlement in a different case that covers
  19   the FLSA overtime claims of the vast majority of LOs who would be eligible to
  20   participate as members of any collective action in this case. (KohSweeney Decl. ¶
  21   2, Ex. B.) The plaintiffs in that case filed a motion for preliminary approval of the
  22   settlement on January 23, 2019, in the Supreme Court of New York, County of
  23   Suffolk. (Id. at ¶ 2, Ex. A.) If the settlement is approved by the court, all
  24   participants will release “any and all wage and hour actions, causes of action, suits,
  25   liabilities, claims, and demands, whatsoever,” including claims under the FLSA.4
  26
  27   4
         Bank of America has submitted the motion for preliminary approval, as well as
  28   the Settlement Stipulation as exhibits to the Declaration of Adam P. KohSweeney.
       If the Court would like to see the additional documents filed with the plaintiffs’
                                                                     DEFENDANTS’ RESPONSE TO
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    1   (Id. Ex. B at Section IV.)
    2         The settlement covers current and former Bank of America LOs with job
    3   codes SM009, SM172, SM611, SM614, SM171, SM612, SM603, SM604, SM605,
    4   and SM610. (Id. at Section I.A & B.) The only LOs who are not covered by the
    5   settlement are those employed in job code SM610 in California. (Id. at Section
    6   I.B.) This group only includes approximately 100 individuals. Plaintiffs have not
    7   made any argument specific to this small group of individuals. With the exception
    8   of this small group, and any individuals who may opt out of the settlement, the
    9   overwhelming majority of LOs will release their FLSA claims as a result of this
   10   settlement and will therefore be ineligible to participate in this case, should a
   11   collective action be conditionally certified. Although for the reasons stated above,
   12   Campbell does not warrant a reversal of this Court’s prior Order, in light of this
   13   settlement, to the extent this Court believes reversal is appropriate, this Court
   14   should postpone any decision while approval of the settlement is pending. It would
   15   be inefficient and potentially confusing to LOs to receive two separate notices,
   16   regarding two separate cases, one of which has already settled.
   17                                      CONCLUSION
   18         For the foregoing reasons, this Court correctly denied Plaintiffs’ motion for
   19   conditional certification. There is no basis to reverse this Court’s Order.
   20
              Dated: February 15, 2019                 O’MELVENY & MYERS LLP
   21
                                                By:      /s/ Adam P. KohSweeney
   22                                                  Adam P. KohSweeney
   23                                                  Attorneys for Defendants Bank of
                                                       America, N.A. and Bank of America
   24                                                  Corporation
   25
   26
   27
        motion for preliminary approval or any other documents in the case, Bank of
   28   America is happy to provide these documents.
                                                                      DEFENDANTS’ RESPONSE TO
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